2/5/23, 6:59 AM         Case
                        RE:     1:22-cv-08478-VSB
                            MakerDAO's                           Document
                                       Use of U.S. Patent No. 10,025,797:         30-22
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RE: MakerDAO's Use of U.S. Patent No. 10,025,797:
Method and System for Separating Storage and
Process of a Computerized Ledger for Improved
Function
governance




TRS #1 March 10, 2022, 5:29pm




https://forum.makerdao.com/t/re-makerdaos-use-of-u-s-patent-no-10-025-797-method-and-system-for-separating-storage-and-process-of-a-computerized-ledger-for-i…   1/7
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Infringement of TRS's U.S. Patent No. 10,025,797 by MakerDao




NikKunkel #2 March 10, 2022, 9:00pm


lmfao. Go heckle some other sucker.

18 Likes


Infringement of TRS's U.S. Patent No. 10,025,797 by MakerDao

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Alefcripto #3 March 11, 2022, 12:48pm


Brother, if you’re kidding, you really did a great job on that paper, it looks very real.

1 Like




edludlam #4 March 11, 2022, 2:52pm


Imagine thinking this is intelligent. As if posting a letter on an internet forum constitutes service.

4 Likes




Tosh9.0 #5 March 11, 2022, 4:36pm


Did you also post the draft complaint? Seems like it didn’t attach…

EDIT: pretty telling that they haven’t posted their (sham) complaint.

1 Like




DAOvolution #6 March 12, 2022, 6:57pm


TROLL. The more interesting thing is understanding (and learning to preempt) how U.S. plaintiff’s attorneys view
the universe when it comes to trying to attack a DAO or pierce the veil. Less relevant for Maker, but for entities
looking to make use of the new DAO law in Wyoming (or others that will follow), it could be a different story.
Either way I wish these trolls would pack their bags and move to Mars with Bezos.

2 Likes




ChrisB #7 March 12, 2022, 7:22pm


Lol, seems they are also trying to sell the patent on opensea
(https://opensea.io/assets/0x495f947276749ce646f68ac8c248420045cb7b5e/28225982364144408751260915955
843311384984513832112859833939273603937546010625) and are yet to receive an offer so trying different
tactics…
https://forum.makerdao.com/t/re-makerdaos-use-of-u-s-patent-no-10-025-797-method-and-system-for-separating-storage-and-process-of-a-computerized-ledger-for-i…   6/7
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3 Likes




Alefcripto #8 March 13, 2022, 2:35pm


Wao seeks money from anywhere

1 Like




system Closed #9 June 12, 2022, 8:36pm


This topic was automatically closed 91 days after the last reply. New replies are no longer allowed.




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